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                                                                                   FILED IN THE
                                                                               U.S. DISTRICT COURT
                                                                         EASTERN DISTRICT OF WASHINGTON



 1                                                                        Mar 13, 2024
 2                                                                            SEAN F. MCAVOY, CLERK



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 6                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 7
 8   PREPARED FOOD PHOTOS, INC.,                       No. 2:23-CV-0160-TOR
 9                          Plaintiff,                 AMENDED ORDER SETTING
10   vs.                                               SETTLEMENT CONFERENCE
11
     POOL WORLD, INC.,                                 ---- ACTION REQUIRED ----
12
13                          Defendant.                 Settlement Offer Due: 04/22/2024
                                                       Response to Offer Due: 04/24/2024
14                                                     In Camera Letters Due: 05/01/2024
15                                                     Settlement Conference: 05/14/2024
16
17             The original order incorrectly set the date of the settlement conference. The
18   erroneous May 15, 2024, settlement conference is STRICKEN and RESET to May
19   14, 2024, at 9:00 a.m., before the undersigned, in Suite 740, 920 West Riverside
20   Ave., United States Courthouse, Spokane, Washington. All other deadlines remain
21   as set.
22             The purpose of the settlement conference is to permit an informal discussion
23   among the attorneys, parties, non-party indemnitors or insurers, and this magistrate
24   judge of every aspect of the lawsuit bearing on its settlement value.
25                            I.     MEDIATION FORMAT
26             Settlement conferences typically are scheduled for a full, uninterrupted
27
     business day. The court generally will use a mediation format: that is, a joint
28


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 1   introductory session followed by private caucusing by the court with each side. The

 2   court expects both counsel and the party representatives to be fully prepared to
 3   participate. The court encourages all parties to keep an open mind to reevaluate their
 4   previous positions and to discover creative means for resolving the dispute.
 5         Unless previously excused by the undersigned, for good cause, in addition to
 6   counsel who will try the case and all named parties (including the person with full
 7   settlement authority) must be physically present at this conference and ready to
 8   proceed by 9:00 a.m. The person with full settlement authority must have the ability,
 9   within his or her discretion, to permit payment in full of the request for relief under
10   the claims, counterclaims, and cross-claims, up to the limits of the opposing parties’
11   settlement demand that is produced as a result of this order as provided below.
12
           The parties are responsible for timely advising any involved non-party
13
     insurance company of the requirements of this Order. This magistrate judge may,
14
     in his discretion, converse with the lawyers, the parties, the insurance
15
     representatives, or any one of them separately, prior to and during the conference.
16
                                II.    SUBMISSIONS
17
           On or before April 22, 2024, Plaintiff shall serve upon Defendant, with an in
18
     camera copy to the undersigned, a written offer of settlement, which includes
19
     monetary and non-monetary components, if any, with supporting reasons, and with
20
21   an itemization of Plaintiff’s damages, unless an itemization of damages previously

22   has been provided. On or before April 24, 2024, Defendant shall serve, with an in

23   camera copy to the undersigned, Defendant's counter-offer with supporting reasons
24   upon Plaintiff and provide an in camera copy to the undersigned court. Copies
25   shall be emailed to: GoekeOrders@waed.uscourts.gov
26         Failure to comply with this requirement may result in cancellation or
27   rescheduling of the settlement conference.
28         In preparation for the settlement conference, each party shall submit an in


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 1   camera letter, labeled confidential, to the undersigned on or before May 1, 2024.

 2   Do not file copies of these letters on the court docket, and do not serve these letters
 3   on the opposing party. The in camera letters shall set forth the following:
 4         1)     Name and title of the client who will be present throughout the
 5                conference and will be authorized to enter into a settlement
                  agreement, and the names and titles of any other persons who
 6                will accompany the party to the conference;
 7
           2)     A brief analysis of key issues involved in the litigation;
 8
 9         3)     A description of the strongest and weakest points in the party’s
10                case, both legal and factual (the parties are invited to include as
                  letter attachments copies of key depositions);
11
12         4)     A description of the strongest and weakest points in the
                  opponent’s case, both legal and factual;
13
14         5)     Itemization of damages, fees, and costs;
15
           6)     Status of any settlement negotiations, including the last
16                settlement proposal made by the party and opposing parties;
17
           7)     Settlement proposal the party believes to be fair; and
18
19         8)     Settlement proposal the party is willing to accept to conclude the
                  matter and stop the expense of litigation.
20
21         In camera copies shall be emailed to: GoekeOrders@waed.uscourts.gov

22   Failure to submit an in camera letter may result in cancellation or rescheduling

23   of the settlement conference.

24         All communications made in connection with the settlement conference are

25   confidential and will not be disclosed. Any documents requested and submitted for

26   the settlement conference will be maintained in chambers and will be destroyed after

27   the conference.       Neither the settlement conference statements nor any

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 1   communications occurring during the settlement conference can be used by any
 2   party with regard to any aspect of the litigation or trial of this case.
 3                           III.   OTHER PROTOCOLS
 4         The court expects the parties to address each other with courtesy and respect.
 5   Parties are encouraged to be frank and open in their discussions. As a result,
 6   statements made by any party during the settlement conference are not to be used in
 7   discovery and will not be admissible at trial.
 8         The court further expects the parties to proceed in good faith, to anticipate a
 9   settlement, and have available at the time of the conference a “settlement agreement”
10   in a form acceptable to them for signature by all parties when a settlement is reached.
11         IT IS SO ORDERED.
12         DATED March 13, 2024.
13
14                                  _____________________________________
                                              JAMES A. GOEKE
15                                   UNITED STATES MAGISTRATE JUDGE
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     ORDER SETTING SETTLEMENT CONFERENCE - 4
